                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re:                                                       )        Chapter 11
                                                                 )
    JOANN INC., et al.,1                                         )        Case No. 25-10068 (CTG)
                                                                 )
                              Debtors.                           )        (Jointly Administered)
                                                                 )
                                                                 )        Re: Docket Nos. 17 and 519

                             ORDER (A) APPROVING AND
                     AUTHORIZING SALE OF THE DEBTORS’ ASSETS,
                FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES,
               AND OTHER INTERESTS, AND (B) GRANTING RELATED RELIEF

             Upon the motion2 of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”) for the entry of an order (the “Approval Order”): (a) authorizing and approving

entry into and performance under the terms and conditions of the Agency Agreement dated as of

February 26, 2025, by and among the Debtors (the “Sellers”) and GA Joann Retail Partnership,


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.

2     Capitalized terms used but not otherwise defined in this Approval Order have the meanings given to such terms
      in the Agency Agreement, the Motion of Debtors for Entry of an Order (I) Approving Bidding Procedures,
      (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving the Form and Manner of
      Notice Thereof, (IV) Approving the Stalking Horse Agreement, (V) Establishing Notice and Procedures for the
      Assumption and Assignment of Contracts and Leases, (VI) Authorizing the Assumption and Assignment of
      Assumed Contracts and Leases, (VII) Approving the Sale of Assets, and (VIII) Granting Related Relief [Docket
      No. 17] (the “Motion”), the Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with
      Respect Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse Agreement,
      (V) Establishing Notice and Procedures for the Assumption and Assignment of Assumed Contracts and Leases,
      (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases, (VII) Approving the Sale of
      Assets, and (VIII) Granting Related Relief [Docket No. 446] (the “Bidding Procedures Order”), the Order
      (I) Authorizing and Approving the Conduct of Store Closing Sales, with Such Sales to be Free and Clear of all
      Liens, Claims, and Encumbrances and (II) Granting Related Relief [Docket No. 443] (the “Store Closing Order”),
      or the Cash Collateral Order, as applicable. For the avoidance of doubt, in the event of any conflict or
      inconsistency between defined terms in this Approval Order, the Motion, the Bidding Procedures Order, the Cash
      Collateral Order, and those defined in the Agency Agreement, the definitions set forth in the Agency Agreement
      shall control.
LLC (“Agent”) and Wilmington Savings Fund Society, FSB, in its capacity as prepetition term

loan agent (the “Term Agent”) and collectively with Agent, the “Purchaser”) attached to this

Approval Order as Exhibit A (as may be amended, supplemented, restated, or otherwise modified

from time to time, the “Agency Agreement”), and all other transaction documents necessary and

desirable to consummate the Transactions, including the Carve Out Reserves Agreement (as

defined below) (collectively, the “Transaction Documents”); (b) authorizing and approving the

sale of (i) the exclusive right to designate the purchasers, assignees, sublessees, or other transferees

of Sellers’ right, title, and interest in and to any or all of the Sellers’ Leases and Contracts

(the “Lease/Contract Designation Rights”)3 and (ii) the exclusive right to market and sell, and/or

otherwise designate the purchasers, transferees, and/or assignees of any or all of the Assets (as

defined in the Agency Agreement) free and clear of all liens, claims (as such term is defined by

section 101(5) of the Bankruptcy Code), liabilities, rights, remedies, restrictions, interests, and

encumbrances of any kind or nature whatsoever whether arising before or after the Petition Date,

whether at law or in equity, including all claims or rights based on any successor or transferee

liability, all environmental claims, all change in control provisions, all rights to object or consent

to the effectiveness of the transfer of the Assets to the Purchaser or to be excused from accepting

performance by the Purchaser or performing for the benefit of the Purchaser under any Assigned

Contract (as defined in the Bidding Procedures Order)4 and all rights at law or in equity

(collectively, “Claims”), except to the extent set forth in the Agency Agreement, including the


3   “Contracts” shall mean the Sellers’ right, title, and interest in and to executory contracts (together with all
    amendments, extensions, modifications, and other material documents related thereto). “Leases” shall mean the
    Sellers’ unexpired leases of non-residential real property (together with all amendments, extensions,
    modifications, and other material documents related thereto).

4   For the avoidance of doubt, “Assigned Contracts,” as defined in the Bidding Procedures Order, includes Contracts
    and Leases that may be assumed and assigned in connection with the Sale and pursuant to the Designation Rights
    Procedures.



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Permitted Encumbrances (as defined in the Agency Agreement), without further order of the Court

but without prejudice to the rights of Agent to seek a further order of the Court in connection with

the sale of any of the Assets (the “Asset Designation Rights” and collectively with the

Lease/Contract Designation Rights, the “Designation Rights”) (the matters in this proviso (b),

collectively, and including all actions taken or required to be taken in connection with the

implementation and consummation of the Agency Agreement, the “Transactions”), upon the

Closing (as defined in the Agency Agreement) and the satisfaction of the Debt Payoff (as defined

below), the Initial Wind-Down Payment (as defined below), and the Initial Central Services

Payment (as defined in the Agency Agreement) (collectively, the “Initial Purchase Price Funding”)

and until the Designation Rights Termination Date;5 (c) subject to the exercise of the

Lease/Contract Designation Rights as set forth in the Agency Agreement and pursuant to the

Designation Rights Procedures (as defined herein), authorizing the assumption by the Sellers and

assignment to the Purchaser or its designees of Assigned Contracts, if any, pursuant to section 365

of the Bankruptcy Code, upon the Closing and the Initial Purchase Price Funding, subject to the

Purchaser’s or its designees’ payment or satisfaction of any Cure Costs, and until the Designation

Rights Termination Date; (d) authorizing the Debtors to consummate the Transactions and all other

transactions related to the Agency Agreement, including, but not limited to, the GOB Sale (as

defined in the Agency Agreement) and Store Closings under the terms of the Agency Agreement

and in accordance with the Store Closing Order; and (e) granting related relief; and this Court

having entered the Bidding Procedures Order; and the Debtors having scheduled an auction




5   “Designation Rights Termination Date” shall mean the earlier to occur of (i) the end of the Lease/Contract
    Designation Rights Period applicable to a particular Lease or Contract and (ii) May 31, 2025, as may be amended
    by written agreement of the Sellers and Agent, in consultation with the Committee, without further order by the
    Court.



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(the “Auction”) for the Assets; and the Auction having occurred on February 21 and 22, 2025 in

accordance with the Bidding Procedures; and the Debtors having determined in consultation with

the Consultation Parties that the Purchaser has submitted the highest or otherwise best bid for the

Assets and determined that the Purchaser is a Qualified Bidder and a Winning Bidder, in

accordance with the Bidding Procedures; and the Court having held a hearing on February 26,

2025 (the “Approval Hearing”); and the Court having reviewed and considered the Motion, the

Agency Agreement, the Committee Settlement, and any and all objections to the Transactions, the

Agency Agreement, and the other Transaction Documents filed in accordance with the Bidding

Procedures Order; and the Court having heard statements of counsel and the evidence presented

in support of the relief requested in the Motion at the Approval Hearing; and upon the First Day

Declaration, witness testimony, and the Frejka Declaration;6 and it appearing that due notice of the

Motion, the Approval Hearing, and the Transactions was provided; and it appearing that the relief

requested in the Motion is in the best interests of the Debtors, their estates, and their stakeholders;

and it appearing that the Court has jurisdiction over this matter; and it appearing that the legal and

factual bases set forth in the Motion and at the Approval Hearing establish just cause for the relief

granted herein; and after due deliberation, it is hereby




6   “Frejka Declaration” means the Declaration of Elise S. Frejka, CIPP/US, in Support of the Motion of Debtors for
    Entry of an Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
    Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse Agreement,
    (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and Leases,
    (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases, (VII) Approving the Sale of
    Assets, and (VIII) Granting Related Relief [Docket No. 388].



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       FOUND, CONCLUDED, AND DETERMINED THAT:

                             Jurisdiction, Venue, and Final Order

       A.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this District and in this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       B.      This Approval Order constitutes a final and appealable order within the meaning of

28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), any other applicable

Bankruptcy Rules or Local Rules, and to any extent necessary under Bankruptcy Rule 9014 and

Federal Rule of Civil Procedure 54(b), as made applicable by Bankruptcy Rule 7054, the Court

expressly finds that there is no just reason for delay in the implementation of this Approval Order,

and expressly directs entry of judgment as set forth herein.

       C.      The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact constitute

conclusions of law, they are adopted as such. To the extent any of the following conclusions of

law constitute findings of fact, they are adopted as such.

                Notice of the Bidding Procedures Order, Bidding Procedures,
                Auction, Approval Hearing, Agency Agreement, Transactions

       D.      As evidenced by the Notice of Potential Approval Hearing [Docket No. 182],

Notice of Auction for the Sale of the Debtors’ Assets [Docket No. 448], Proof of Publication

[Docket No. 472], the Notice of Winning Bidder for Certain of the Debtors’ Assets [Docket

No. 480], the Notice of Filing of Winning Bidder Agency Agreement [Docket No. 486], and the

affidavit of service previously filed with this Court [Docket No. 313], notice of the Bidding

Procedures Order, the Bidding Procedures, the Auction, the Approval Hearing, the Agency



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Agreement, and the Transactions was proper, timely, adequate, and sufficient under the

circumstances, and has been provided in accordance with sections 363 and 365 of the Bankruptcy

Code, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014, and Local Rule 6004-3.

       E.      A reasonable opportunity to object or to be heard regarding the relief requested in

the Motion was afforded to all interested persons and entities.

       F.      The disclosures made by the Debtors in the Motion and related documents filed

with the Court concerning the Transactions are sufficient under the circumstances.

                                   The Committee Settlement

       G.      The Official Committee of Unsecured Creditors (the “Committee”), the Debtors,

Purchaser, the ABL Agent, and the FILO Agent have agreed to the terms of a global settlement to

resolve (a) the Omnibus Objection of the Official Committee of Unsecured Creditors to Debtors’

Motions (i) for Entry of an Order Approving Bidding Procedures and Stalking Horse Agreement;

and (ii) for Entry of a Final Order Authorizing the Use of Cash Collateral [Docket No. 338], and

(b) the Committee’s potential objections to the Sale (the “Committee Settlement”).              The

Committee Settlement provides for: (i) the reserve of $9,000,000 from the Wind-Down Budget for

stub rent payments (the “Stub Rent Reserve”) which shall be used to pay allowed stub rent claims

of landlords within two (2) weeks of Closing, provided that any portion of the Stub Rent Reserve

remaining after all stub rent has been paid shall be deemed available for satisfaction of other items

in the Wind-Down Budget; (ii) a reserve of $30,000,000 for the payment of 503(b)(9) claims

(the “503(b)(9) Reserve”), which shall be used to pay allowed 503(b)(9) claims pursuant to an

expedited reconciliation and payment process to be agreed to by the Debtors and the Committee

in consultation with Purchaser; (iii) contribution of 50% of the 503(b)(9) Savings, if any, for the

benefit of unsecured creditors, with a minimum guaranteed contribution from Purchaser of

$1,500,000, which dollars shall come first from the 503(b)(9) Reserve, and paid at the earlier of


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(x) the Sale Termination Date or (y) the entry of an order confirming a chapter 11 plan of the

Debtors (the “GUC Guarantee”); (iv) a $1,000,000 payment for the benefit of general unsecured

creditors, which amount shall be funded by the Debtors from the accrued weekly cash collateral

consent fees of $37,500 owing to each of the ABL Agent and the FILO Agent through entry of the

Cash Collateral Order and the remainder from the FILO paydown at Closing (the “FILO Reserve”

and, together with the Stub Rent Reserve, the 503(b)(9) Reserve, and (to the extent a chapter 11

plan of the Debtors is confirmed and becomes effective) the GUC Guarantee, the “Settlement

Reserves”); (v) the Purchaser shall purchase and covenant to not pursue all Avoidance Actions;

(vi) the establishment of lease designation rights pursuant to a separate order of the Court on terms

reasonably satisfactory to the Debtors, Purchaser and the Committee (provided that unless and

until alternative lease designation rights are approved, the Lease/Contract Procedures Order, as

defined below, shall apply to the assumption, assignment, and rejection of executory contracts and

unexpired leases); (vii) the agreement of the Term Loan Ad Hoc Group not to oppose a waiver of

the Prepetition Term Loan Lenders’ right to receive a recovery from the first $5,000,000 of value

available for distribution to unsecured creditors; (viii) the payment (from the Carve Out Reserves

(as defined in the Cash Collateral Order) or, to the extent the Carve Out Reserves are insufficient,

the GUC Guarantee and/or the FILO Reserve) of all fees and expenses incurred by the

professionals for the Committee through the Closing that are approved by the Court; (ix) a post-

Closing budget for the Committee’s professionals in the amount of $1,250,000 (the “Post-Closing

UCC Budget”), payable from the Carve Out Reserves (as defined in the Cash Collateral Order);

(x) any unused amounts from the Post-Closing UCC Budget shall be contributed to the benefit of

unsecured creditors (the “UCC Budget Savings”); and (xi) the creation of a trust, whose trustee

shall be selected by the Committee, for the benefit of unsecured creditors in any confirmed plan in




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these chapter 11 cases to be funded with the GUC Guarantee, the FILO Reserve, and the UCC

Budget Savings. The FILO Reserve shall be segregated and not used for any purpose other than

as provided for in this Committee Settlement. For the avoidance of doubt, the Prepetition ABL

Agent’s and the Prepetition FILO Agent’s consent to the Sale, the release of the Prepetition ABL

and FILO Liens and to the Committee Settlement (and the funding of, and use of funds contained

in, the Settlement Reserves) is conditioned upon, and subject to, the Prepetition ABL/FILO

Obligations being Paid in Full on or before the Closing.

                                       Highest and Best Offer

        H.      The Debtors conducted a sale process in accordance with, and have, along with the

Purchaser, complied in all respects with, the Bidding Procedures Order and afforded a full, fair,

and reasonable opportunity for any interested party to make a higher or otherwise better offer to

purchase the Assets. The approval and consummation of the Transactions is in the best interests

of the Debtors, their creditors, and all other parties in interest.

        I.      (i) The Debtors and their advisors engaged in a robust and extensive marketing and

sale process, both prior to the commencement of these chapter 11 cases and through the

postpetition sale process in accordance with the Bidding Procedures Order and a sound exercise

of the Debtors’ business judgment, as more fully detailed in the First Day Declaration, the Frejka

Declaration, and witness testimony; (ii) the Bidding Procedures were substantively and

procedurally fair to all parties and the Debtors conducted a fair, open, and adequate sale process

in full compliance in all respects with the Bidding Procedures Order, with all other applicable

orders of the Court, and with the Debtors’ fiduciary duties; (iii) the sale process, the Bidding

Procedures, and the Auction were non-collusive, duly noticed, and provided a full, fair, reasonable,

and adequate opportunity for any entity that either expressed an interest in acquiring the Assets, or

who the Debtors believed may have had an interest in acquiring the Assets, to make an offer to


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purchase the Assets; (iv) the Debtors and the Purchaser have negotiated and undertaken their roles

leading to the entry into the Agency Agreement in a diligent, non-collusive, fair, reasonable, and

good faith manner; and (v) the sale process conducted by the Debtors pursuant to the Bidding

Procedures Order and the Bidding Procedures resulted in the highest or otherwise best value for

the Assets for the Debtors and their estates, and was in the best interest of the Debtors, their estates,

and their creditors. There is no legal or equitable reason to delay entry into the Agency Agreement

and the transactions contemplated therein.

        J.      The consummation of the Transactions outside a plan of reorganization pursuant to

the Agency Agreement neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates the terms of a plan of reorganization or liquidation for the Debtors. The

Transactions does not constitute a sub rosa chapter 11 plan for which approval has been sought

without the protections that a disclosure statement would afford.

        K.      The Purchaser would not have entered into the Agency Agreement and the

Transaction Documents, and would not consummate the transactions contemplated thereby,

including, without limitation, the Transactions and the purchase of Designation Rights, if (i) a first

priority, senior security interest and lien is not automatically perfected on any Assets, Proceeds,7

and Additional Agent Merchandise Proceeds determined to constitute property of the Debtors’

estates after entry of this Approval Order and occurrence of the Closing or (ii) the Purchaser is not

granted a superpriority administrative expense claims pursuant to section 507(b) of the Bankruptcy

Code, which is senior to all other administrative expense claims (including any other superpriority

administrative expense claims but excluding the Carve Out and the FILO Reserve) against the




7   “Proceeds” has the meaning given thereto in the Agency Agreement.



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Debtors to the extent of any amounts owing from the Debtors to Purchaser in connection with the

Agency Agreement.

                             Good Faith of Debtors and Purchaser

       L.      The sale and marketing process engaged in by the Debtors was non-collusive, in

good faith, and substantively and procedurally fair to all parties in interest. Likewise, the

negotiation of the Transactions and the other transactions contemplated by the Agency Agreement,

including the consideration to be paid by the Purchaser under the Agency Agreement, were

negotiated by the Debtors and the Purchaser at arm’s-length, in good faith, and without collusion

pursuant to sections 363(m) and 364(c)(1) of the Bankruptcy Code, and such consideration

constitutes reasonably equivalent value and fair and adequate consideration for the Assets.

Specifically: (i) the Purchaser recognized that the Debtors were free to deal with any other party

interested in purchasing the Assets; (ii) the Debtors and the Purchaser complied in all respects with

the provisions in the Bidding Procedures Order in negotiating and entering into the Agency

Agreement and the other Transaction Documents, and the transactions described therein comply

with the Bidding Procedures Order; (iii) the Purchaser agreed to subject any bid to the competitive

bid procedures set forth in the Bidding Procedures Order; (iv) all payments made by the Purchaser

in connection with the Transactions have been disclosed in the Agency Agreement; (v) no common

identity of directors, officers, or controlling stockholders exists among the Purchaser and the

Debtors; (vi) the negotiation and execution of the Agency Agreement and the other Transaction

Documents were at arm’s-length and in good faith, and at all times each of the Purchaser and the

Debtors were represented by competent counsel of their choosing; and (vii) the Debtors and the

Purchaser have not acted in a collusive manner with any person. The Purchaser will be acting in

good faith within the meaning of sections 363(m) and 364(c)(1) of the Bankruptcy Code in closing

the transactions contemplated by the Agency Agreement and the other Transaction Documents.


                                                 10
The terms and conditions set forth in the Agency Agreement are fair and reasonable under the

circumstances and were not entered into for the purpose of, nor do they have the effect of,

hindering, delaying, or defrauding the Debtors or their creditors under any applicable laws. The

Purchaser is a “good faith purchaser” within the meaning of sections 363(m) and 364(c)(1) of the

Bankruptcy Code, and, as such, is entitled to all the protections afforded thereby. The Debtors and

their respective management, board of directors, board of managers (or comparable governing

authority), employees, agents, and representatives, and the Purchaser and its respective employees,

agents, advisors, and representatives, each actively participated in the bidding process, and each

acted in good faith and without collusion or fraud of any kind. Neither the Purchaser nor any of

its affiliates, officers, directors, members, partners, principals, or shareholders (or equivalent) or

any of their respective representatives, successors, or assigns is an “insider” (as defined under

section 101(31) of the Bankruptcy Code) of any Debtors, and therefore, each such person is fully

entitled to the protections of sections 363(m) and 364(c)(1).

       M.      For the avoidance of doubt, neither the Purchaser nor any of its affiliates, is, or shall

be deemed to be, a “successor” to, continuation of, or alter ego of, any of the Debtors or their

estates by reason of any theory of law or equity, including for purposes of any foreign, federal,

state or local revenue law, pension law, the Employee Retirement Income Security Act, the

Consolidated Omnibus Budget Reconciliation Act, the WARN Act (29 U.S.C. §§ 2101 et seq.),

Comprehensive Environmental Response Compensation and Liability Act, the Fair Labor

Standard Act, Title VII of the Civil Rights Act of 1964 (as amended), the Age Discrimination and

Employment Act of 1967 (as amended), the Federal Rehabilitation Act of 1973 (as amended), or

the National Labor Relations Act, 29 U.S.C. § 151, et seq. To the extent allowed by applicable

law, except as otherwise set forth in this Approval Order, the Purchaser, as a result of any action




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taken in connection with the Transactions (i) is not, and shall not be considered, a successor to the

Debtors, (ii) has not, de facto or otherwise, merged with or into the Debtors, (iii) is not a

continuation or substantial continuation of any of the Debtors or their respective estates,

businesses, or operations, or any enterprise of the Debtors, and (iv) does not have a common

identity of incorporators, directors or controlling shareholders with the Debtors.

                                     No Fraudulent Transfer

       N.      The consideration provided by the Purchaser pursuant to the Agency Agreement

for its purchase of the Assets constitutes reasonably equivalent value and fair consideration under

the Bankruptcy Code, the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer

Act, and under the laws of the United States, any state, territory, possession, or the District of

Columbia.

       O.      Neither the Purchaser nor its past, present, and future subsidiaries, parents,

divisions, affiliates, agents, representatives, insurers, attorneys, successors and assigns, nor any of

its nor their respective directors, managers, officers, employees, shareholders, members, agents,

representatives, attorneys, contractors, subcontractors, independent contractors, owners, insurance

companies, or partners (collectively, the “Purchaser Parties”) is a continuation of the Debtors or

their respective estates and no Purchaser Party is holding itself out to the public as a continuation

of the Debtors or their respective estates and the Transactions does not amount to a consolidation,

merger, or de facto merger of the Purchaser (or any other Purchaser Party) and the Debtors.

       P.      None of the Debtors, the Purchaser, nor any of their respective affiliates, officers,

directors, members, partners, principals, or shareholders (or equivalent) or any of their respective

representatives, attorneys, successors, or assigns have engaged in any conduct that would cause or

permit the consummation of the Transactions or the other transactions contemplated by the Agency




                                                  12
Agreement to be avoided, or costs or damages to be imposed, under section 363(n) of the

Bankruptcy Code.

                                        Validity of Transfer

       Q.      The Debtors are the sole and lawful owners of, and have clear and marketable title

to the extent of their right, title and interest in and to the Assets. The Debtors’ right, title, and

interest in and to the Assets constitute property of the Debtors’ estates within the meaning of

section 541(a) of the Bankruptcy Code.

       R.      The Debtors (i) have full corporate power and authority to execute and deliver the

Agency Agreement and all other documents contemplated thereby, as applicable, (ii) have all of

the power and authority necessary to consummate the Transactions, and (iii) have taken all action

necessary to authorize and approve the Agency Agreement and to consummate the Transactions,

and no further consents or approvals, other than those expressly provided for in the Agency

Agreement, are required for the Debtors to consummate the transactions contemplated by the

Agency Agreement. The Debtors’ right, title and interest in and to the Assets constitute property

of the Debtors’ estates within the meaning of section 541(a) of the Bankruptcy Code and the

Debtors’ title thereto is presently vested in the Debtors’ estates.

       S.      The Agency Agreement is a valid and binding contract between the Sellers and the

Purchaser and shall be enforceable pursuant to its terms.

                                     Section 363(f) Is Satisfied

       T.      The Transactions contemplated by the Agency Agreement meet the applicable

provisions of section 363(f) of the Bankruptcy Code, such that, except for the Permitted

Encumbrances and as otherwise set forth in this Approval Order, the Transactions and any

purchase of Purchaser’s Designation Rights will be free and clear of any and all Claims, causes of

action, liens (including, without limitation, any statutory lien on real and personal property and


                                                  13
any and all “liens” as that term is defined and used in the Bankruptcy Code, including

section 101(37) thereof), liabilities, interests, rights, and encumbrances (including, without

limitation, the following: all mortgages, restrictions (including, without limitation, any restriction

on the use, voting rights, transfer rights, claims for receipt of income, or other exercise of any

attributes of ownership), hypothecations, charges, indentures, loan agreements, instruments,

leases, licenses, sublicenses, options, deeds of trust, security interests, equity interests, conditional

sale rights or other title retention agreements, pledges, judgments, demands, rights of first refusal,

consent rights, offsets, contract rights, rights of setoff not taken prepetition, rights of recovery,

reimbursement rights, contribution claims, indemnity rights, exoneration rights, product liability

claims, alter-ego claims, environmental rights and claims (including, without limitation, toxic tort

claims), labor rights and claims, employment rights and claims, pension rights and claims, tax

claims, regulatory violations by any governmental entity, decrees of any court or foreign or

domestic governmental entity, charges of any kind or nature, debts arising in any way in

connection with any agreements, acts, or failures to act, reclamation claims, obligation claims,

demands, guaranties, option rights or claims, rights, contractual or other commitment rights and

claims, whether known or unknown, choate or inchoate, filed or unfiled, scheduled or unscheduled,

noticed or unnoticed, recorded or unrecorded, perfected or unperfected, allowed or disallowed,

contingent or non-contingent, liquidated or unliquidated, matured or unmatured, material or non-

material, disputed or undisputed, whether arising prior to or subsequent to the commencement of

the chapter 11 cases and whether imposed by agreement, understanding, law, equity or otherwise,

including claims otherwise arising under any theory, law, or doctrine of successor or transferee

liability or theories of liability related to acting in concert or active participation with the Debtors

or related theories) against any of the Assets (except to the extent set forth in the Agency




                                                   14
Agreement), and will not subject any Purchaser Party to any liability for any Claims whatsoever

(including, without limitation, under any theory of equitable law, antitrust, or successor or

transferee liability), except as expressly provided in the Agency Agreement with respect to

the Permitted Encumbrances and this Approval Order, because, in each case, one or more of the

standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been satisfied; provided

that all liens, claims, encumbrances, and interests of which the Assets are sold free and clear

pursuant to the Approval Order (including the Adequate Protection Liens (as defined in the Cash

Collateral Order)) shall automatically attach to all proceeds of the Transactions (excluding, for the

avoidance of doubt, Assets and Proceeds) in the order of priority of such liens, claims,

encumbrances, and interests, with the same validity, force, and effect which they had against the

applicable Assets prior to the Transactions (including pursuant to the Cash Collateral Order). All

holders of Claims who did not object, or withdrew their objections to the Transactions, are deemed

to have consented to the Transactions pursuant to section 363(f)(2) of the Bankruptcy Code, and

all holders of Claims are adequately protected—thus satisfying section 363(e) of the Bankruptcy

Code—by having their Claims (including the Adequate Protection Liens), if any, attach to the

proceeds of the Transactions ultimately attributable to the property against or in which they assert

Claims, or other specifically dedicated funds, in the same order of priority and with the same

validity, force, and effect that such holder had prior to the Transactions (including pursuant to the

Cash Collateral Order), subject to any rights, claims, and defenses of the Debtors or their estates,

as applicable. Those holders of Claims who did object and that have an interest in the Assets fall

within one or more of the other subsections of section 363(f) of the Bankruptcy Code. All proceeds

of the Transactions shall be funded into and held in an account owned and controlled by the

Debtors, subject to the Cash Collateral Order and the Committee Settlement; provided that the




                                                 15
proceeds of the Transactions to fund the Debt Payoff and the Settlement Reserves shall be

distributed in accordance with the terms set forth in this Approval Order.

        U.      Each transfer, if any, of any Assets to the Purchaser or its designees under the Asset

Designation Rights under the Agency Agreement will be a legal, valid, and effective transfer of

all of the Debtors’ legal, equitable, and beneficial right, title, and interest in and to the Assets free

and clear of all Claims, except as expressly provided in the Agency Agreement with respect to the

Permitted Encumbrances and as otherwise set forth in this Approval Order.

        V.      The Purchaser would not have entered into the Agency Agreement and the

Transaction Documents, and would not consummate the transactions contemplated thereby,

including, without limitation, the Transactions and the purchase of the Designation Rights of the

Assigned Contracts, if (i) each transfer of any Assets was not free and clear of all Claims of any

kind or nature whatsoever, including, without limitation, rights or claims based on any successor,

transferee, derivative, or vicarious liability or any similar theory and/or applicable state or federal

law or otherwise or (ii) the Purchaser or any of its affiliates, would, or in the future could, be liable

for any interests, including, without limitation, rights or claims based on any successor, transferee,

derivative, or vicarious liability or any similar theory and/or applicable state or federal law or

otherwise, in each case subject only to the Permitted Encumbrances.

                                   GOB Sale and Store Closings

        W.      The Debtors have articulated good and sufficient business reasons for the Court to

authorize the Purchaser to conduct the GOB Sale and Store Closings in accordance with the

process and procedures pursuant to the Agency Agreement and set forth in the Store Closing Order

and as modified in Exhibit B hereto (the “Amended Store Closing Procedures”). The Store

Closing Order is incorporated and modified as described herein.




                                                   16
       X.      The Purchaser’s Asset Designation Rights are integral to the Agency Agreement

and the GOB Sale, are in the best interests of the Debtors and their respective estates and creditors,

and represent a sound exercise of the Debtors’ business judgment. Specifically, the Asset

Designation Rights are necessary to sell the Assets to the Purchaser or its designees, as applicable.

       Y.      Except as otherwise set forth in this Approval Order, the transfer to the Purchaser

of the Asset Designation Rights will not subject the Purchaser to any liability whatsoever (except

for the Permitted Encumbrances or as otherwise set forth in this Approval Order) that arise prior

to the Closing or by reason of such transfer under the laws of the United States, any state, territory,

or possession thereof, or the District of Columbia, based, in whole or in part, directly or indirectly,

on any theory of law or equity, including, without limitation, any theory of equitable law, any

theory of antitrust, successor, transferee, derivative, or vicarious liability or any similar theory

and/or applicable state or federal law or otherwise.

                 Lease/Contract Designation Rights of the Assigned Contracts

       Z.      The Purchaser’s Lease/Contract Designation Rights pursuant to the terms of this

Approval Order are integral to the Agency Agreement, are in the best interests of the Debtors

and their respective estates, and creditors and represent a sound exercise of the Debtors’

business judgment.

       AA.     The Sellers and the Purchaser will, to the extent necessary, satisfy the requirements

of section 365 of the Bankruptcy Code, prior to the assumption and assignment of the Assigned

Contracts pursuant to the designation rights procedures (the “Designation Rights Procedures”) set

forth in the Order (I) Authorizing and Approving Procedures To Reject or Assume Executory

Contracts and Unexpired Leases and (II) Granting Related Relief (the “Lease/Contract Procedures

Order”) [D.I. 429] or that may be set forth in a separate motion and proposed form of order,

provided, however, that all rights of a counterparty to an Assigned Contract to object to the


                                                  17
assumption and assignment of a Contract or Lease in connection with the Designation Rights

Procedures on any grounds are expressly reserved. The Purchaser and the Debtors will identify

all Assigned Contracts by filing a notice on the docket following the Closing and pursuant to the

Designation Rights Procedures, which may be supplemented. Unless and until any alternative

Designation Rights Procedures are approved by a separate order, Purchaser may direct the Debtors

to file one or more Assumption Notices (as defined in the Lease/Contract Procedures Order) with

respect to any Assigned Contracts pursuant to the Designation Rights Procedures and the Debtors

are hereby authorized and directed to comply with such direction and otherwise follow the

procedures set forth in the Lease/Contract Procedures Order.

                                      Wind-Down Amount

       BB.     Sound business justifications also exist for (i) the deposit of the Carve Out Reserves

(as defined in the Cash Collateral Order), including the Post-Closing UCC Budget, to be funded

upon Closing in accordance with this Approval Order and the Cash Collateral Order into a

segregated account (the “Carve Out Reserves Account”) held in trust for the benefit of the parties

entitled to the protections of the Carve Out Reserves as set forth in the Cash Collateral Order and

to be governed by a customary agreement governing such segregated account that is otherwise

consistent with this Approval Order, the Cash Collateral Order, and the Agency Agreement

(the “Carve Out Reserves Agreement”), and (ii) the funding of the Wind-Down Payments (as

defined below) pursuant to the Wind-Down Budget (as defined below, and the Wind-Down

Payments and the Carve Out Reserves, collectively, the “Wind-Down Amount”), subject in all

respects to the terms of the Agency Agreement, including the funding of the FILO Reserve in

accordance with this Approval Order, the Committee Settlement, and the Cash Collateral Order

into a segregated account held in trust for the benefit of general unsecured creditors and as

otherwise provided in this Approval Order. The Wind-Down Amount will avoid a freefall


                                                18
shutdown of the Debtors’ remaining estates and will provide funding of those professional fees

and other wind-down costs necessary to implement an orderly and responsible wind-down of the

Debtors’ estates. The Wind-Down Amount is reasonable under the facts and circumstances of

these chapter 11 cases.

                                     Prompt Consummation

         CC.   Based on the record of the Approval Hearing, and for the reasons stated on the

record at the Approval Hearing, the Transactions must be approved and consummated promptly

to preserve the value of the Assets. Time, therefore, is of the essence in effectuating the Agency

Agreement. As such, the Debtors and the Purchaser intend to close the Transactions as soon as

reasonably practicable in accordance with the terms of the Agency Agreement. The Debtors have

demonstrated compelling circumstances and a good, sufficient, and sound business purpose and

justification for the immediate approval and consummation of the Agency Agreement in

accordance with the terms thereof. Accordingly, there is sufficient cause to waive the stay

provided in the Bankruptcy Rules 6004(h) and any other applicable Bankruptcy Rules or Local

Rules.

                                             Credit Bid

         DD.   As set forth more fully in the Cash Collateral Order, the Debtors have

acknowledged that the Prepetition Term Loan Obligations, including for the avoidance of doubt,

the Prepetition Term Loan Obligations (each as defined in the Cash Collateral Order): (i) constitute

legal, valid, binding, enforceable, unavoidable obligations of the Debtors; (ii) are secured by valid,

binding, enforceable, unavoidable, and properly perfected Prepetition Liens on the Prepetition

Collateral (each as defined in the Cash Collateral Order); (iii) constitute allowed secured claims

under sections 502(a) and 506 of the Bankruptcy Code; and (iv) are authorized to be credit bid

pursuant to section 363(k) of the Bankruptcy Code. Pursuant to the Cash Collateral Order, the


                                                 19
Challenge Deadline (as defined in the Cash Collateral Order) has lapsed and thus no Debtor or any

other party in interest has any valid Challenge, claim, or cause of action against the Prepetition

Liens or Prepetition Obligations that would impact the propriety of the Credit Bid.

       EE.     Pursuant to applicable law, including section 363(k) of the Bankruptcy Code, the

Term Agent has elected to credit bid an amount equal to $105,000,000 of the Prepetition Term

Loan Obligations, as contemplated under the Agency Agreement (the “Credit Bid”). Such Credit

Bid is valid and proper consideration pursuant to sections 363(b) and 363(k) of the Bankruptcy

Code and Prepetition Credit Documents (as defined in the Cash Collateral Order). No cause exists

to limit the amount of the credit bid pursuant to section 363(k) of the Bankruptcy Code or

otherwise.

       FF.     The Term Agent is authorized under the Prepetition Credit Documents to follow

the directions of the Required Lenders (as defined in the Prepetition Term Loan Credit Agreement)

in submitting the Credit Bid, including, without limitation, in assigning the right to receive the

Assets to the Purchaser subject to the terms and conditions set forth in the Agency Agreement, and

the Required Lenders are authorized to direct to the Term Agent to make the Credit Bid

contemplated by the Agency Agreement. The Term Agent acted validly and in good faith and in

accordance with the Prepetition Credit Documents in submitting the Credit Bid with respect to the

transactions contemplated by the Agency Agreement. The Required Lenders acted validly,

reasonably, and in good faith and in accordance with the Prepetition Credit Documents in directing

the Term Agent to submit the Credit Bid with respect to the transactions contemplated by the

Agency Agreement.

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Motion is GRANTED, as set forth in this Approval Order.




                                               20
       2.      All objections to or reservations of rights with respect to the Motion or the relief

requested therein that have not been withdrawn or resolved are overruled with prejudice; provided

that the foregoing shall not prejudice the rights of any applicable counterparty to an Assigned

Contract with respect to exercise of the Purchaser’s Lease/Contract Designation Rights and the

Designation Rights Procedures. All persons and entities who did not object or who objected but

have withdrawn their objections to the Motion are deemed to have consented pursuant to

section 363(f)(2) of the Bankruptcy Code.

       3.      The Agency Agreement and the other Transaction Documents, and all terms and

conditions thereof, are hereby APPROVED in all respects, unless otherwise set forth in this

Approval Order. The failure to specifically include any particular provision of the Agency

Agreement or the Transaction Documents in this Approval Order shall not diminish or impair the

effectiveness of such provision.

       4.      The Committee Settlement is APPROVED in all respects.

       5.      Upon entry of this Approval Order, the Challenge Deadline (as defined in the Cash

Collateral Order) shall be deemed to have expired as of the date of the Approval Hearing.

       6.      The Debtors, their respective officers, employees, and agents, and all other

applicable parties are authorized and directed to (a) take any and all actions necessary or

appropriate to perform, consummate, implement, and close the Transactions in accordance with

the terms and conditions set forth in the Agency Agreement, the Transaction Documents, and this

Approval Order, and (b) take all further actions and execute and deliver the Agency Agreement

and Transaction Documents and any and all additional instruments and documents that may be

necessary or appropriate to implement the Agency Agreement and the other Transaction




                                                21
Documents and consummate the Transactions in accordance with the terms thereof, all without

further order of the Court.

       7.      Neither the Purchaser nor any of its affiliates is acquiring any of the Excluded

Assets as set forth in Section 16.21(e) of the Agency Agreement.

       8.      All persons and entities are prohibited and enjoined from taking any action to

adversely affect or interfere with, or which would be inconsistent with, the ability of the Debtors

to transfer any Assets to the Purchaser or its designees in accordance with the Agency Agreement,

the other Transaction Documents, and this Approval Order; provided, however, that nothing herein

shall prevent counterparties to Assigned Contracts, if any, from objecting to the proposed

assumption and assignment of an Assigned Contract or seeking to enforce contractual rights and

obligations under such Contracts or Leases in connection with the Designation Rights Procedures.

For the avoidance of doubt, all utilities, landlords, creditors, and other interested parties and all

persons acting for or on their behalf shall not interfere with or otherwise impede the conduct of

the GOB Sale or Store Closings or institute any action in any forum other than this Court that in

any way directly or indirectly interferes with or obstructs or impedes the conduct of the GOB Sale

or Sale Closings unless otherwise ordered by the Court, so long as such GOB Sale or Store Closing

is conducted in accordance with the Amended Store Closing Procedures and/or any Side Letter (as

defined herein).

       9.      Following the satisfaction of the Initial Purchase Price Funding and the funding of

the Stub Rent Reserve and the FILO Reserve, and in accordance with the Agency Agreement and

this Approval Order, and upon the purchase of Purchaser’s Designation Rights, if any, all of the

Sellers’ rights, titles, and interests in and to, and possession of, the Assets shall be vested in the

Purchaser or its designees under the Asset Designation Rights, as applicable, pursuant to




                                                 22
sections 105(a), 363(b), 363(f) of the Bankruptcy Code. Such transfer shall constitute a legal,

valid, enforceable, and effective transfer of the Assets. In connection with the transfer of the

Assets, Purchaser is acquiring Avoidance Actions and Other Causes of Action pursuant to the

terms and conditions set forth in the Agency Agreement and this Approval Order, and shall be

deemed to release and waive (i) all Other Causes of Action against (x) the Prepetition Secured

Creditors (as defined in the Cash Collateral Order), (y) 1903P Loan Agent and all of its affiliates

including Gordon Brothers Retail Partners, LLC, and (z) any Related Party (as defined in the

Agency Agreement), of the Debtors, including former officers or directors, and (ii) all Avoidance

Actions (collectively, the “Released Causes of Action”). Upon the occurrence of the Closing,

Purchaser shall be deemed to have waived and released the Released Causes of Action, and neither

Purchaser, nor any Entity claiming by, through, or on behalf of Purchaser (including by operation

of law, sale, assignment, conveyance, or otherwise) shall pursue, prosecute, litigate, institute, or

commence an action based on, assert, sell, use defensively, convey, assign, or file any claim or

cause of action that relates to any Released Cause of Action. Purchaser is hereby granted

derivative standing and authority to commence, prosecute, and settle any Other Causes of Action

acquired pursuant to the Agency Agreement other than the Released Causes of Action. All persons

or entities, presently at or after the date of the Initial Purchase Price Funding, in possession of

some or all of the Assets, shall surrender possession of any and all portions of the Assets to the

Debtors on the date of the Initial Purchase Price Funding to be held strictly in trust for the benefit

of Purchaser, provided that all Assets are subject to Purchaser’s right to designate the transferees

thereof, irrespective of who has possession, custody, or control thereof. Upon the Initial Purchase

Price Funding, Purchaser shall have the exclusive right to market and sell, or otherwise designate

the purchasers, licensees, and/or assignees of, any or all of the Assets free and clear of all liens,




                                                 23
claims, and encumbrances thereon (other than Permitted Encumbrances or as otherwise set forth

in this Approval Order) without further order of the Bankruptcy Court; provided that the

Lease/Contract Designation Rights shall be exercised in accordance with the Designation Rights

Procedures.

       10.     This Approval Order (a) shall be effective as a determination that, as of the Initial

Purchase Price Funding, (i) upon the purchase of Purchaser’s Designation Rights, as it relates to

the Assigned Contracts, if any, the Assets shall have been transferred to the Purchaser or its

designees under the Asset Designation Rights free and clear of all Claims, except as to the

Permitted Encumbrances, as applicable, or as otherwise set forth herein, or otherwise held strictly

in trust by the Sellers for the benefit of the Purchaser, and (ii) the conveyances described herein

have been effected; and (b) to the greatest extent permitted under applicable law, is and shall be

binding upon and govern the acts of all entities, including, without limitation, all filing agents,

filing officers, registrars of patents, trademarks, or other intellectual property, administrative

agencies, governmental departments, secretaries of state, federal and local officials, and all other

persons and entities who may be required by operation of law, the duties of their office, or contract,

to accept, file, register, or otherwise record or release any documents or instruments; and each of

the foregoing persons and entities is hereby authorized to accept for filing any and all of the

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the Agency Agreement and the other Transaction Documents. All Assets

transferred to Purchaser pursuant to this Approval Order are sold free and clear of any reclamation

rights. All Claims on the Assets (including the Adequate Protection Liens) shall automatically

attach to the proceeds of the Transactions ultimately attributable to the property against which such

Claims applied or other specifically dedicated funds (excluding, for the avoidance of doubt, Assets




                                                 24
and Proceeds), in the same order of priority and with the same validity, force, and effect that such

Claims applied prior to the Transactions (including pursuant to the Cash Collateral Order), subject

to the Committee Settlement and any rights, claims, and defenses of the Debtors or their estates,

as applicable, or as otherwise provided herein. Purchaser shall also be authorized to sell the

Additional Agent Merchandise (as defined in the Agency Agreement) as set forth in the Agency

Agreement, subject to the Amended Store Closing Procedures.

       11.     At Closing, the Purchaser shall (i) to the Prepetition ABL Agent, for the benefit of

the Prepetition ABL Lenders, and certain other persons as directed in the ABL Payoff Letter (as

defined in the Agency Agreement), (a) pay the amount in cash necessary to indefeasibly pay in

full in cash all Prepetition Revolving Obligations, including, without limitation, all outstanding

principal, accrued interest, fees, costs and expenses (including, without limitation, all attorneys’

fees, costs and expenses, and any other amounts as provided in the Cash Collateral Order), and

(b) provide and/or post cash collateral for (and/or replacement of) any issued and outstanding

letters of credit (in form and substance acceptable to the Prepetition ABL Agent), in each case in

accordance with and as set forth in the ABL Payoff Letter (which shall be in form and substance

acceptable to the Prepetition ABL Agent, and such amounts and other consideration, the “ABL

Payoff”); and (ii) pay to the Prepetition FILO Agent, for the benefit of the Prepetition FILO

Lenders, and certain other persons as directed in the FILO Payoff Letter (as defined in the Agency

Agreement), the amount in cash necessary to pay in full in cash all Prepetition FILO Obligations,

including, without limitation, all outstanding principal, accrued interest, fees, costs and expenses,

make whole obligations and any other amounts as provided in the Cash Collateral Order, all as set

forth in the FILO Payoff Letter (as defined in the Agency Agreement, which shall be in form and

substance acceptable to the Prepetition FILO Agent) (such amounts and other consideration,




                                                 25
the “FILO Payoff” and, together with the ABL Payoff, the “Debt Payoff”), provided that the

amount of the FILO Reserve will be deducted from the FILO Payoff, to be treated in accordance

with the Committee Settlement, which deduction will not prevent the FILO Payoff from

constituting payment in full of all Prepetition FILO Obligations. Upon receipt by the Prepetition

ABL Agent and Prepetition FILO Agent of the Debt Payoff in accordance with the ABL Payoff

Letter and the FILO Payoff Letter and expiration of the Challenge Deadline (as defined in the Cash

Collateral Order), (i) the Prepetition ABL Agent and the Prepetition FILO Agent are authorized to

immediately receive and apply any amounts received pursuant to the ABL Payoff Letter and the

FILO Payoff Letter, (ii) all ongoing commitments under the ABL/FILO Credit Agreement shall

be canceled and terminated, and (iii) following the funding of the Funded Reserve Account in

accordance with this Approval Order, the Prepetition ABL Agent, the Prepetition FILO Agent and

the Prepetition ABL and FILO Lenders shall have no further obligation to fund the Carve-Out

Reserves (as defined in the Cash Collateral Order) or subordinate their liens and claims on account

of any Allowed Professional Fees (as defined in the Cash Collateral Order). For the avoidance of

doubt, all of the Prepetition Liens (including the Adequate Protection Liens) shall terminate in

their entirety with respect to the Assets, and shall not attach to Proceeds, upon receipt by the

Prepetition ABL Agent and Prepetition FILO Agent of the Debt Payoff and the occurrence of the

Closing and the Prepetition ABL/FILO Obligations being Paid in Full (subject to the funding of

the FILO Reserve).

       12.     Notwithstanding anything contained in this Approval Order, these chapter 11 cases,

the Agency Agreement, any Transaction Documents, the Bidding Procedures Order, the Store

Closing Order, the Cash Collateral Order, or any other order entered or to be entered in these

chapter 11 cases to the contrary, as of the Closing, for good and valuable consideration, the




                                                26
adequacy of which is hereby confirmed, including the contributions of the Released Parties8 to

facilitate and implement the Transactions, to the fullest extent permissible under applicable law,

as such law may be extended or integrated after the Closing, the Released Parties are deemed

conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by and

on behalf of each and all of the Debtors, the Debtors’ estates, any party acting on behalf of the

Debtors or their Estates, the ABL Agent, the ABL Lenders, the FILO Agent, the FILO Lenders,

and their affiliates, and the Purchaser, in each case on behalf of themselves and their respective

successors and assigns, representatives and any and all other entities or persons that may purport

to assert any claim or cause of action directly or derivatively, by or through the foregoing entities

or persons, from any and all claims, obligations, rights, suits, damages, causes of action, remedies,

and liabilities whatsoever, including any derivative claims or causes of action, asserted or

assertable on behalf of any of the Debtors, the Debtors’ estates, or their affiliates, whether

liquidated or unliquidated, fixed or contingent, mature or unmatured, known or unknown, foreseen

or unforeseen, existing or hereinafter arising, in law, equity, contract, tort, by statute, violations of

federal or state securities laws or otherwise that each of the Debtors, the Debtors’ estates, or their

affiliates would have been legally entitled to assert in their own right (whether individually or


8 “Released Parties” means, collectively, each of the following in their capacities as such, as former or current directors

  and/or officers of any of the Debtors, as equity holders of any of the Debtors, and/or as debt holders of any of the
  Debtors at any time prior to the Closing (each to the extent applicable): (i) the Agent Purchaser, (ii) the Term Agent,
  (iii) each Prepetition Term Loan Lender, (iv) the ABL Agent, (v) the FILO Agent, (vi) each ABL Lender, (vi) each
  FILO Lender, (vii) any former director or officer of any of the Debtors prior to the Closing, (viii) Gordon Brothers
  Retail Partners, LLC, and (ix) with respect to (x) any Entity or Person (as defined in the Bankruptcy Code) in the
  foregoing (i) through (ix), such Entity’s or Person’s predecessors, successors and assigns, parents, subsidiaries,
  affiliates, affiliated investment funds or investment vehicles, managed or advised accounts, funds, or other entities,
  and investment advisors, sub-advisors, or managers, (y) with respect to each of the foregoing in clause (x), such
  Entity’s or Person’s respective current and former officers, directors, principals, equity holders (regardless of
  whether such interests are held directly or indirectly and any fund managers, fiduciaries, or other agents with any
  involvement related to any of the Debtors), members, partners, employees, agents, trustees, advisory board
  members, financial advisors, attorneys, accountants, actuaries, investment bankers, consultants, representatives,
  management companies, fund advisors and other professionals, and (z) with respect to each of the foregoing in
  clause (x), such Entity’s or Person’s respective heirs, executors, estates, servants, and nominees.



                                                           27
collectively) or on behalf of the holder of any claim against or interest in or other person, based on

or relating to, or in any manner arising from, in whole or in part, any act or omission, transaction,

agreement, event, or other occurrence taking place on or before the Closing, including any claims

or causes of action based on or relating to, or in any manner arising from, in whole or in part, the

chapter 11 cases, the Debtors, the Transactions, the Bidding Procedures, the Bidding Procedures

Order, the Agency Agreement, any Transaction Document, the Store Closing Procedures, the Store

Closing Order, the Cash Collateral Order, the bidding process, the sale process, the governance,

management, transactions, ownership, or operation of any of the Debtors (including, for the

avoidance of doubt, in any capacities as former directors, officers, equity holders, or debt holder),

the purchase, sale or rescission of any security of or claim against any of the Debtors, the subject

matter of, or the transactions or events giving rise to, any claim or interest that is treated in the

Bidding Procedures, the Bidding Procedures Order, the Agency Agreement, any Transaction

Document, the Store Closing Procedures, the Store Closing Order, the Cash Collateral Order, the

business or contractual agreements between any Debtor and any Released Party, the Debtors’ in

or out-of-court restructuring efforts, intercompany transactions, the Transactions, the Prepetition

Credit Documents or the Prepetition Loan Facilities (each as defined in the Cash Collateral Order),

the restructuring or sale of claims and interests before the Closing, the negotiation, formulation,

preparation, execution, filing, solicitation, entry into, and/or consummation of the Bidding

Procedures, the Bidding Procedures Order, the Agency Agreement, any Transaction Document,

the Store Closing Procedures, the Store Closing Order, the Cash Collateral Order, the chapter 11

cases, any restructuring transaction, or related contract, instrument, release, or other agreement or

document created or entered into in connection with the foregoing, the pursuit of the Transactions,

the sale process, or the bidding process, the administration and implementation of the chapter 11




                                                 28
cases, the Prepetition Credit Documents or the Prepetition Loan Facilities, or the distribution of

proceeds from the Transactions, the Transactions, the Bidding Procedures, the Bidding Procedures

Order, the Agency Agreement, any Transaction Document, the Store Closing Procedures, the Store

Closing Order, the Cash Collateral Order, including the distribution of property under this

Approval Order, the Agency Agreement, the Store Closing Order, or any other Transaction

Document, or any other agreement, act or omission, transaction, event, or other occurrence taking

place on or before the Closing.

       13.      Each of the parties granting the releases set forth in the foregoing paragraph

(including such parties’ successors and assigns and including the Purchaser pursuant to the Agency

Agreement) covenants not to, and is hereby forever enjoined from, directly or indirectly bringing

the released claims and causes of action. Such releases (i) represent a sound exercise of the

Debtors’ business judgment; (ii) were negotiated in good faith and at arm’s length as part of the

Agency Agreement; and (iii) are (a) in exchange for good and valuable consideration, (b) a good

faith settlement and compromise of the claims released thereby, (c) in the best interest of the

Debtors and their estates, (d) fair, equitable, and reasonable under the circumstances of the Debtors

chapter 11 cases, (e) are within the jurisdiction of the Bankruptcy Court; (f) are integral elements

of the transactions incorporated into this Approval Order and inextricably bound with the other

provisions of this Approval Order; and (g) consistent with the Bankruptcy Code and are hereby

approved in their entirety. For the avoidance of doubt, the foregoing releases do not release any

obligations under the Agency Agreement or any other Transaction Documents documenting the

Transactions.

       14.      Except as otherwise provided in the Agency Agreement and this Approval Order,

including with respect to the Permitted Encumbrances, all persons and entities (and their respective




                                                 29
successors and assigns), including, but not limited to, all debt security holders, equity security

holders, affiliates, governmental, tax, and regulatory authorities, lenders, customers, vendors,

employees, trade creditors, litigation claimants, and other creditors holding claims arising under

or out of, in connection with, or in any way relating to, the Debtors, the Assets, and the ownership,

sale, or operation of the Assets prior to the Closing or any transfer of any Assets to the Purchaser

or its designees, are hereby forever barred, estopped, and permanently enjoined from asserting

such claims against any Purchaser Party and its property (including, without limitation, the Assets),

unless otherwise provided by further order of this Court. Following the Closing, no holder of any

Claim shall interfere with the Purchaser’s title to or use and enjoyment of the Assets based on or

related to any such claim or interest.

       15.     Except as otherwise provided in the Agency Agreement or this Approval Order,

including with respect to the Permitted Encumbrances, if any person or entity that has filed

financing statements, mortgages, mechanic’s claims, lis pendens, or other documents or

agreements evidencing claims against the Debtors or in the Assets shall not have delivered to the

Debtors prior to the Closing of the Transactions, in proper form for filing and executed by the

appropriate parties, termination statements, instruments of satisfaction, and/or releases of all

Claims that the person or entity has with respect to the Sellers or the Assets or otherwise, then only

with regard to the Assets that are purchased by the Purchaser pursuant to the Agency Agreement

and this Approval Order, (a) the Sellers are hereby authorized and directed to execute and file such

statements, instruments, releases, and other documents on behalf of the person or entity with

respect to the Assets, (b) the Purchaser is hereby authorized to file, register, or otherwise record a

certified copy of this Approval Order, which, once filed, registered, or otherwise recorded, shall

constitute conclusive evidence of the release of all Claims against the Purchaser Parties and the




                                                 30
Assets, and (c) upon consummation of the Transactions, the Purchaser may seek in this Court or

any other court to compel appropriate parties to execute and/or file termination statements,

instruments of satisfaction, and releases of all Claims that are extinguished or otherwise released

pursuant to this Approval Order under section 363 of the Bankruptcy Code, and any other

provisions of the Bankruptcy Code, with respect to the Assets. This Approval Order is deemed to

be in recordable form sufficient to be placed in the filing or recording system of each and every

federal, state, or local government agency, department, or office. Notwithstanding the foregoing,

the provisions of this Approval Order authorizing the Transactions and designation and, if

applicable, transfer of the Assets free and clear of Claims shall be self-executing and neither the

Debtors nor the Purchaser shall be required to execute or file releases, termination statements,

assignments, consents, or other instruments to effectuate, consummate, and implement the

provisions of this Approval Order.

       16.     Except as otherwise provided in the Agency Agreement and this Approval Order,

including with respect to the Permitted Encumbrances, effective upon the Closing, all persons and

entities are forever prohibited and enjoined from commencing or continuing in any matter any

action or other proceeding, whether in law or equity, in any judicial, administrative, arbitral, or

other proceeding against the Purchaser, any Purchaser Party or their respective assets (including,

without limitation, the Assets), with respect to any (a) claim in these chapter 11 cases or in

connection with or related to the Transactions or the Debtors or (b) successor or transferee liability

including, without limitation, the following actions with respect to clauses (a) and (b):

(i) commencing or continuing any action or other proceeding pending or threatened; (ii) enforcing,

attaching, collecting, or recovering in any manner any judgment, award, decree, or order;

(iii) creating, perfecting, or enforcing any lien, claim, interest, or encumbrance; (iv) asserting any




                                                 31
setoff (except for setoffs exercised prior to the Petition Date), or right of subrogation, or

recoupment of any kind; (v) commencing or continuing any action, in any manner or place, that

does not comply with, or is inconsistent with, the provisions of this Approval Order or other orders

of this Court, or the agreements or actions contemplated or taken in respect hereof; or

(vi) revoking, terminating, failing, or refusing to renew any license, permit, or authorization to

operate any business in connection with the Assets or conduct any of the businesses operated with

respect to such Assets. Except as otherwise expressly provided in this Approval Order or the

Agency Agreement and in accordance with the Agent Dropout Rights (as defined below), after the

Closing, the Debtors shall have no further liability with respect to the Assets, and any claims,

whether administrative or otherwise, relating to or arising from such Assets after the closing of the

sale asserted against the Debtors shall be deemed disallowed. Purchaser shall not be liable for any

claims against the Debtors except as expressly provided for in the Agency Agreement and this

Approval Order, and the Debtors shall not be liable for any claims against Purchaser except as

expressly provided for in the Agency Agreement.

       17.     Following the satisfaction of the Initial Purchase Price Funding and the funding of

the Stub Rent Reserve and the FILO Reserve, any Proceeds, or Additional Agent Merchandise

Proceeds received by, or that otherwise come into the possession of, Sellers at any time after the

Closing shall be segregated and held strictly in trust for the benefit of Purchaser, shall not be

commingled with the Sellers’ own assets, and, as such, shall not become property of the Debtors’

estates pursuant to and consistent with 11 U.S.C. § 541(b)(1), and shall be paid over to Purchaser

promptly, but in any event, not later than in connection with each Weekly Sale Reconciliation (as

defined in the Agency Agreement).




                                                 32
       18.     To the extent Purchaser has not designated any Assets as of the Asset Designation

Rights Termination Date (as defined in the Agency Agreement, and any Assets not designated by

the Asset Designation Rights Termination Date, the “Residual Assets”), (i) ownership of all cash

(on hand, in the bank, in transit, posted in respect of letters of credit or bonds or otherwise), credit

card processing float, accounts receivable, notes receivable, credit card receivables, other

receivables, deposits, security deposits, proceeds of retail sales in all of the Sellers’ retail store

locations, rights to refunds, other rights to payment, Intellectual Property, and, subject to

Section 7.1 of the Agency Agreement, ownership of all Remaining Merchandise (as defined in the

Agency Agreement), comprising Residual Assets shall vest in Purchaser, and (ii) ownership of all

other Residual Assets shall revert to the Debtors’ estates, each on the Asset Designation Rights

Termination Date.

       19.     Nothing set forth herein or in the Agency Agreement shall impact the obligation of

any proposed designee to assume obligations under an Assigned Contract cum onere, including,

without limitation, liabilities for indemnification, year-end adjustments or reconciliations, and

liabilities for any defaults under such Assigned Contracts, and all parties’ rights are reserved in

such regard.

       20.     The Vacate Date (as defined in the Agency Agreement) for any Lease shall also be

the Lease Designation Rights Termination Date for such Lease. By written agreement of the

Debtors and the Agent, the Agent may extend the Lease Designation Rights Termination Date past

the Vacate Date provided that the Agent’s obligations to pay all Expenses, including Occupancy

Expenses, for each Store or Distribution Center, as applicable, shall continue until the new Lease

Designation Rights Termination Date. Thereafter, the Merchant shall be responsible to pay all

such Expenses to the extent, if any, the rejection date for an applicable lease is later than the new




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Lease Designation Rights Termination Date for such lease; provided that the Merchant reserves

all rights to seek further reimbursement from the Agent pursuant to the Agency Agreement.

Notwithstanding anything to the contrary in the Agency Agreement or this Approval Order, the

Agent may not abandon any property at a Store or Distribution Center that does not belong to

Merchant. A copy of any agreement to extend the Lease Designation Rights Termination Date

should be filed and sent to any applicable landlord.

                             Good Faith of Debtors and Purchaser

       21.     The Transactions contemplated by the Agency Agreement is undertaken by the

Debtors and the Purchaser without collusion and in good faith, as that term is defined in

sections 363(m) and 364(c)(1) of the Bankruptcy Code, and accordingly, the reversal or

modification on appeal of the authorization provided herein to consummate the Transactions shall

not affect the validity of the Transactions (including, without limitation, the assumption and

assignment of the Assigned Contracts, if any, pursuant to the Designation Rights Procedures),

unless such authorization and consummation of such Transactions is duly and properly stayed

pending such appeal.

       22.     Neither the Debtors nor the Purchaser have engaged in any action or inaction that

would cause or permit the Transactions to be avoided or costs or damages to be imposed under

section 363(n) of the Bankruptcy Code. The consideration provided by the Purchaser for the

Assets under the Agency Agreement is fair and reasonable and the Transactions may not be

avoided, and costs and damages may not be imposed, under section 363(n) of the

Bankruptcy Code.

                                    Asset Designation Rights

       23.     In accordance with the terms of this Approval Order and Section 15.2 of the Agency

Agreement, the Purchaser is authorized to exercise the Asset Designation Rights. Subject to


                                                34
Purchaser’s compliance with its payment obligations under the Agency Agreement and this

Approval Order, Purchaser is authorized to execute, in the name of and as agent for the Debtors,

any and all deeds, bills of sale, and other instruments or documents necessary to effectuate the

sale, transfer, or other conveyance of any of the Assets, none of which instruments or documents

shall require the Debtors to incur any obligations or other liabilities beyond the terms of the Agency

Agreement.

       24.     At any time after the Closing but in no event later than the Asset Designation Rights

Termination Date, the Purchaser is authorized to provide notice of any sale, license, transfer, or

other conveyance of any Assets by the Purchaser (other than the Assets being sold pursuant to the

GOB Sale or Store Closings, as to which no further notice shall be required) substantially in the

form attached to the Agency Agreement as Exhibit 2(b)(iv) (the “Asset Designation Notice”).

       25.     Except as otherwise stated in this Approval Order, the sale, license, transfer, or

other conveyance of any Assets by the Purchaser reflected in any Asset Designation Notice shall

be automatically effective on the date reflected in the applicable Asset Designation Notice and

subject to the satisfaction of any closing conditions reflected therein, and the sale or other

conveyance of such Assets shall be free and clear of all liens, Claims, and encumbrances (other

than Permitted Encumbrances) without further order of the Court; provided that nothing in this

Approval Order shall inhibit the ability of Purchaser to seek other or further orders of the Court in

connection with the sale or other disposition of any Assets.

                                  GOB Sale and Store Closings

       26.     Subject to the provisions of this Approval Order and the Amended Store Closing

Procedures, as same may be modified by any Side Letter (as defined below), the Debtors and

Purchaser are hereby authorized, pursuant to sections 105(a) and 363(b)(1) of the Bankruptcy




                                                 35
Code, to conduct the GOB Sale and Store Closings in accordance with the Store Closing

Procedures, as may be modified by any Side Letter.

       27.     Following the satisfaction of the Initial Price Funding, Purchaser shall have the

exclusive right to use the Stores (as defined in the Agency Agreement) and all other Assets for the

purpose of conducting the GOB Sale and Store Closings, free of any interference from any entity

or person, subject to compliance with the Agency Agreement (including payment of Expenses (as

defined in the Agency Agreement) and Wind-Down Payments), the Store Closing Procedures and

this Approval Order. The Purchaser and each landlord of a Store are authorized to enter into

agreements (each, a “Side Letter”) between themselves modifying the Store Closing Procedures

and this Approval Order, as applicable, without further order of the Court, and such Side Letters

shall be binding as among the Purchaser and any such landlords. In the event of any conflict

between this Approval Order and any Side Letter, the terms of such Side Letter shall control;

provided that this Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of any Side Letter.

       28.     For purposes of conducting the GOB Sale and Store Closings, the Purchaser shall

have (a) the right to the unencumbered use and occupancy of, and peaceful and quiet possession

of each Store and the assets currently located at such Stores (as defined in the Agency Agreement),

and (b) the exclusive right to use the Stores and all related Store services, furniture, fixtures,

equipment and other assets of the Debtors or Purchaser, as the context makes applicable, as

designated under the Agency Agreement and/or hereunder for the purpose of conducting the GOB

Sale and Store Closings, free of any interference from any entity or person, subject to compliance

with the Store Closing Procedures as modified by any Side Letter and this Approval Order.




                                                36
       29.     Purchaser, as the exclusive agent for Debtors, is authorized to conduct, advertise,

post signs, utilize sign-walkers, and otherwise promote the GOB Sale and Store Closings as a

“going out of business,” “store closing,” “sale on everything,” “everything must go,” or similarly

themed sale, in accordance with the Store Closing Procedures (as the same may be modified any

Side Letters), subject to compliance with the Store Closing Procedures, this Approval Order, and

all applicable federal, state, and local laws, regulations and ordinances, including, without

limitation, all laws and regulations relating to advertising, privacy, consumer protection,

occupational health and safety and the environment, together with all applicable statutes, rules,

regulations and orders of, and applicable restrictions imposed by, governmental authorities, other

than all applicable laws, ordinances, rules, regulations, or licensing requirements in respect of

“going out of business”, “store closing” or similarly-themed sales (collectively, the “Liquidation

Sale Laws”); provided, however, that as long as the GOB Sales and Store Closings are conducted

in accordance with the terms of this Approval Order and the Store Closing Procedures, and in light

of the provisions in the laws of many Governmental Units (as defined in the Bankruptcy Code)

that exempt court-ordered sales from their provisions, the Sellers and the Purchaser will be

presumed to be in compliance with any Liquidation Sale Laws and are authorized to conduct the

GOB Sale and Store Closings in accordance with the terms of this Approval Order and the Store

Closing Procedures without the necessity of further showing compliance with any such

Liquidation Sale Laws.

       30.     Purchaser may use all Intellectual Property consistent with the Debtors’ ordinary

course of business usage and in connection with the conduct of the GOB Sale and Store Closings.

       31.     Unless otherwise ordered by the Court, all newspapers and other advertising media

in which the GOB Sale or Store Closings are advertised shall be directed to accept this Approval




                                               37
Order as binding and to allow the Debtors and the Purchaser to consummate the transactions

provided for in the Agency Agreement, including, without limitation, conducting and advertising

the GOB Sale and Store Closings in the manner contemplated by the Store Closing Order.

       32.     The Purchaser is authorized to, or may direct the Debtors to, distribute emails and

promotional materials to the Debtors’ customers consistent with the Debtors’ existing policies on

the use of consumer information.

                                      Wind-Down Funding

       33.     Nothing in this Approval Order shall impair, modify, or otherwise affect the Carve

Out (as defined in the Cash Collateral Order). At Closing, the Debtors shall fund the Funded

Reserve Account in accordance with this Approval Order and the Cash Collateral Order, and the

Debtors shall be authorized to apply such amounts in accordance with the Cash Collateral Order.

The creation and funding of the Funded Reserve Account is approved pursuant to section 363(b)

of the Bankruptcy Code. Except as expressly set forth in this Approval Order, nothing herein shall

otherwise impair, modify, or affect the Cash Collateral Order.

       34.     At Closing, Purchaser shall make an initial cash payment to the Debtors equal to

sixty-five percent (65%) of the Wind-Down Budget (the “Initial Wind-Down Payment”) provided

that, notwithstanding anything herein to the contrary, the Initial Wind Down Payment shall include

the payment of all reasonable and documented fees and expenses of the Term Agent advisors and

the Term Loan Ad Hoc Group Advisors in an amount not to exceed $1,660,000. The remaining

thirty-five percent (35%) of the Wind Down Budget shall be funded from Acquired Cash and, to

the extent necessary, Proceeds, within thirty (30) days after the Closing (together with the Initial

Wind Down Payment, the “Wind-Down Payments”). The Wind-Down Payments shall not exceed

the amounts set forth in Exhibit 3.1(b) of the Agency Agreement (the “Wind-Down Budget”);

provided that if any amounts remain in the 503(b)(9) Reserve following reconciliation and


                                                38
payment of allowed 503(b)(9) claims, such amounts that have not been expended by the Debtors

as of the Designation Rights Termination Date shall be returned to Purchaser upon the earlier of

(i) the dismissal or conversion of these chapter 11 cases; or (ii) the effective date of a plan of

liquidation of the Debtors, subject to the paragraph (G)(iii). The Debtors shall set aside the funds

received on account of the Wind-Down Payments into a segregated account and are authorized to

use such funds only to make payments pursuant to the Wind-Down Budget and this Approval

Order.

                                        Other Provisions

         35.   All payments made by the Debtors on account of the Central Services Expenses (as

defined in the Agency Agreement) shall be made pursuant to, and solely in accordance with, the

Central Services Budget (as defined in the Agency Agreement) (on a line item basis). The Debtors

shall provide weekly reporting to Purchaser of all amounts expended for Expenses and the Central

Services Expenses as set forth in the Central Services Budget.

         36.   The Debtors shall make its books and records reasonably available to Purchaser

upon Closing and until the Designation Rights Termination Date.

         37.   Purchaser shall neither have nor incur any obligation to advance or fund any

amounts to or for the Debtors except as set forth in the Agency Agreement. Except as provided in

the Agency Agreement, upon Closing, neither the Debtors nor any other entities acting on their

behalf or as their successors (including but not limited to the any statutory committee appointed

and any chapter 7 or chapter 11 trustee) may recover from the Purchaser any costs or expenses of

preserving, or disposing of, any of the Assets.

         38.   The Final Reconciliation (as defined in the Agency Agreement), once agreed to by

the Debtors and Purchaser in consultation with the Committee, (i) shall not conflict with or impact

the Committee Settlement or funding of the Settlement Reserves and (ii) shall be automatically


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deemed approved pursuant to section 105(a) of the Bankruptcy Code and Rule 9019 of the Federal

Rules of Bankruptcy Procedure without further order of the Court or action by any party; provided

that the Committee reserves the right to request an emergency hearing if the Final Reconciliation

conflicts with or has any economic impact on the Committee Settlement.

       39.     The automatic stay imposed by section 362 of the Bankruptcy Code is hereby lifted,

solely to the extent necessary, without further order of the Court, (a) to allow the Purchaser to give

the Debtors any notice provided for in the Agency Agreement, (b) to allow the Purchaser to take

any and all actions permitted by the Agency Agreement in accordance with the terms and

conditions thereof, including, without limitation, effectuating the Transactions and the other

transactions contemplated by the Agency Agreement and other Transaction Documents, and (c) to

otherwise implement the terms and provisions of the Agency Agreement, the other Transaction

Documents, and this Approval Order.

       40.     This Approval Order shall be binding in all respects upon the Debtors, their

affiliates, their estates, all creditors of (whether known or unknown) and holders of equity interests

in any Debtor, any holders of claims against or on all or any portion of the Assets, all counterparties

to the Assigned Contracts, the Purchaser, and all of their respective successors and assigns,

including, but not limited to, any subsequent trustee(s), examiner(s), or receiver(s) appointed in

any of the Debtors’ chapter 11 cases or upon conversion of these chapter 11 cases to cases under

chapter 7 under the Bankruptcy Code, as to which trustee(s), examiner(s), or receiver(s) such terms

and provisions likewise shall be binding. Subject to Purchaser’s obligation to pay Expenses and

fund the Wind-Down Payments, any such successor shall continue to hold all Assets, Proceeds,

and Additional Agent Merchandise strictly in trust for the benefit of Purchaser. The Agency




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Agreement shall not be subject to rejection or avoidance by the Debtors, their estates, their

creditors, their shareholders, or any trustee(s), examiner(s), or receiver(s).

       41.     In connection with the Transactions, the Purchaser and the Debtors may and are

hereby authorized but not directed to enter into a transition services agreement pursuant to which,

effective as of the Closing, the Purchaser and the Debtors may provide certain services to each

other for a transitional period following the Closing (the “Transition Services Agreement”). The

Purchaser and the Debtors are hereby authorized to execute and deliver any additional

documentation contemplated by the Agency Agreement or in furtherance of the Transactions, and

to perform all such other and further acts as may be required in connection with the negotiation,

execution, and performance of any Transition Services Agreement. For the avoidance of doubt,

the Transition Services Agreement shall provide that neither the Debtors nor their estates shall

incur any liabilities for fees, expenses, costs, or disbursements on account of any transition services

and the Purchaser shall promptly reimburse the Debtors for any fees, costs, expenses, or other

disbursements incurred by the Debtors (including their advisers) in connection with any transition

services provided pursuant to the Transition Services Agreement. The Debtors shall file a notice

and proposed order approving any Transition Services Agreement with the Court and shall cause

such notice to be served on any affected parties, who shall have two (2) business days to object to

the entry of such order.

       42.     Notwithstanding the language in Section 2(b)(viii) of the Agency Agreement

stating that after the Closing the Debtors shall hold the Assets in trust for the benefit of Purchaser

and, as such, the Assets shall not constitute property of the Debtors’ estates, all parties’ rights

regarding any real property lease to which a Debtor is a tenant shall be governed by the Bankruptcy




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Code, including, without limitation, regarding any ongoing obligation to timely perform the

Debtors’ lease obligations and any rejection, assumption, and/or assignment of the lease.

       43.     The terms and provisions of this Approval Order and any actions taken pursuant

hereto shall survive entry of an order which may be entered: (a) confirming any chapter 11 plan in

any of these chapter 11 cases; (b) converting any of these chapter 11 cases to a case under chapter 7

of the Bankruptcy Code; (c) dismissing any of these chapter 11 cases; (d) appointing any trustee,

examiner, or receiver under the Bankruptcy Code; or (e) pursuant to which this Court abstains

from hearing any of these chapter 11 cases. The terms and provisions of this Approval Order,

notwithstanding the entry of any such orders described in clauses (a)-(e) above, shall continue in

these chapter 11 cases or following dismissal of these chapter 11 cases.

       44.     Following the satisfaction of the Initial Purchase Price Funding and the Stub Rent

Reserve and the FILO Reserve, upon the occurrence of the Closing, all Proceeds shall be exclusive

property of the Agent, subject to and in accordance with Section 3.2 of the Agency Agreement.

       45.     Upon satisfaction of the Initial Purchase Price Funding and funding of the Stub

Rent Reserve and the FILO Reserve, but subject to Purchaser’s obligation to pay Expenses and

fund the Wind-Down Payments, Purchaser shall have first priority, senior security interests and

liens on all Assets and Proceeds, which liens shall be deemed automatically perfected and (i) the

Debtors shall be expressly prohibited from granting any security interests or liens on the Assets

and Proceeds and (ii) to the extent that any security interest or lien is granted or otherwise attaches,

voluntarily or involuntarily, (other than the security interests and liens in favor of the Purchaser)

to any Assets or Proceeds, such security interests and liens shall be void ab initio without further

order of the Court; provided that nothing in the Approval Order shall inhibit Purchaser’s ability,

and this Approval Order expressly authorizes Purchaser, to take any action Purchaser deems




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appropriate to perfect and enforce security interests and liens granted in its favor. The automatic

stay is hereby modified to the extent necessary to permit Agent to record a copy of this Approval

Order, together with a Form UCC-1 or other similar financing statement, in any jurisdiction where

the Assets or Proceeds are located, where the Debtors are incorporated or organized, or that Agent

otherwise deems appropriate, provided, however, that the liens granted to Agent under the Agency

Agreement and this Approval Order are self-executing and are deemed perfected irrespective of

whether Agent files a financing statement or a copy of this Approval Order.

       46.     Following the satisfaction of the Initial Purchase Price Funding and funding of the

applicable Settlement Reserves, and subject to Purchaser’s obligation to pay Expenses and fund

the Wind‑Down Payments, until all Assets have been sold or otherwise disposed of, and solely to

the extent that any Assets, Proceeds, or Additional Agent Merchandise Proceeds are,

notwithstanding the Approval Order, subsequently determined to constitute property of Debtors’

estates and a determination has been made by the Court as to the diminution in value of the Assets,

Proceeds, or Additional Agent Merchandise, Purchaser shall have a superpriority administrative

expense claim pursuant to, and subject to the requirements of, section 507(b) of the Bankruptcy

Code, as applicable, limited to the amount of any diminution of value of the Assets, Proceeds, or

Additional Agent Merchandise, as applicable, which is senior to all other administrative expense

claims (but subject to the FILO Reserve and the Carve Out and related claims in accordance with

the Cash Collateral Order) against the Debtors to the extent of any amounts owing from the Debtors

to Purchaser in connection with the Agency Agreement, including as a result of any breach of the

Agency Agreement.

       47.     The sale of any personally identifiable information contemplated in the Agency

Agreement is consistent with the Sellers’ privacy policies and satisfies the requirements of




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section 363(b)(1)(A) of the Bankruptcy Code. Purchaser or its designees, if applicable, shall be

bound by and meet the material standards established by the Sellers’ privacy policies solely with

respect to any personally identifiable information transferred to Purchaser or its designees pursuant

to the Agency Agreement; provided that nothing in this Approval Order shall affect, limit, restrict,

prohibit or impair any right to amend or replace the Sellers’ privacy policies on a go-forward basis

with respect to any personally identifiable information transferred to Purchaser or any designee,

in accordance with the terms thereof and applicable law.

       48.     Purchaser shall indemnify Debtors (and their respective estates) for up to

$10,000,000.00 on account of any administrative expense claim or priority tax claim attributable

to the tax consequences associated with the elimination or cancellation of, transfer of, or

withdrawal from the Key Man Insurance policy program provided for under certain Pre-1986

Corporate Owned Life Insurance policies issued in 1984 and 1985 by Provident Life and Accident

Insurance Company (the “Key Man Insurance Policies” and any associated tax liability, the “Key

Man Insurance Tax Liability”) upon the tax becoming payable to the relevant taxing authority.

Sellers shall use best efforts to, and reasonably cooperate with, Purchaser and its professionals in

efforts to, mitigate and/or offset the amount of any Key Man Insurance Tax Liability, including by

evaluating the availability of any tax attributes that could reduce or eliminate the Key Man

Insurance Tax Liability, considering the appropriate classification of any Key Man Insurance Tax

Liability, considering structuring alternatives to monetize the Key Man Insurance Policies, or

otherwise preventing any Key Man Insurance Tax Liability from arising. For the avoidance of

doubt, Purchaser shall be entitled to the net proceeds (if any), after payment of any associated tax

liability, of the Key Man Insurance Policies, including if such proceeds become due and payable

prior to the Sellers’ withdrawal.




                                                 44
       49.     Each and every federal, state, and local governmental agency, department, or

official is hereby authorized to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Agency Agreement and other

Transaction Documents. For the avoidance of doubt, section 1146(a) of the Bankruptcy Code shall

not apply to the Transactions.

       50.     The Agency Agreement may, in consultation with the Committee, be modified,

amended, or supplemented by the parties thereto in accordance with the terms thereof, without

further order of the Court; provided (i) that any such modification, amendment, or supplement

does not, based on the Debtors’ business judgment, have a material adverse effect on the Debtors’

estates or their creditors; (ii) the Purchaser expressly consents to such modification, amendment,

or supplement in writing; and (iii) the Committee expressly consents in writing to any

modification, amendment, or supplement that adversely impacts the Committee Settlement or the

rights of unsecured creditors. Any amendment to the Agency Agreement must be filed with the

Court within two (2) business days of the execution of such amendment. The Debtors shall provide

notice to the applicable landlord of any amendment that extends the Lease Designation Rights

Termination Date for a Store or Distribution Center.

       51.     All time periods set forth in this Approval Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

       52.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062, and

9014 or any other Bankruptcy Rules or Local Rule to the contrary, the terms and conditions of this

Approval Order shall be effective immediately upon entry and the Debtors and the Purchaser are

authorized to close the Transactions immediately upon entry of this Approval Order.




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         53.   To the extent there is any conflict between the terms of this Approval Order and

the Agency Agreement, the terms of this Approval Order shall control. Nothing contained in any

chapter 11 plan hereinafter confirmed in these chapter 11 cases or any order confirming such

chapter 11 plan, or any other order of the Court, shall conflict with or derogate from the provisions

of the Agency Agreement or any other Transaction Document or the terms of this Approval Order,

unless otherwise agreed in writing by the Debtors and the Purchaser or entered by order of the

Court.

         54.   Nothing in this Approval Order or the Agency Agreement shall impair or prejudice

an applicable landlord’s rights with respect to Debtors’ available insurance coverage with respect

to third-party claims asserted in connection with the Debtors’ use and occupancy of premises

subject to an unexpired real property lease with regard to events that occurred prior to the Closing

or the effective date of assignment.

         55.   Notwithstanding Section 5.1(a) of the Agency Agreement, and except as provided

otherwise in any prior order of this Court or as parties may otherwise agree, the Debtors shall have

no liability with respect to the disposition and/or abandonment of assets that are not owned by the

Debtors, including goods held on consignment (except to the extent otherwise agreed by the

applicable consignor) and the Additional Agent Merchandise. At least two weeks prior to

applicable Sale Termination Date, the Agent shall provide notice to any parties with goods held

on consignment (the “Consignment Parties”) in such Store and, following such notice, the

Consignment Parties shall be solely responsible for the disposition, removal, and/or abandonment

of such goods except as provided otherwise in any prior order of the Court.

         56.   Notwithstanding anything to the contrary in the Agency Agreement, Occupancy

Expenses under any Lease shall include all charges that first become due after the Closing in the




                                                 46
ordinary course consistent with the terms of the applicable lease; provided that all parties’ rights

are reserved with respect to such charges.

        57.     Nothing in this Approval Order, the Bidding Procedures Order, the Stalking Horse

Agreement, or any document related to any of the foregoing shall: (a) be construed to authorize or

permit (i) the assumption and/or assignment of any existing Surety Bond (including those set forth

on Exhibit D to the Insurance Order9), (ii) the assumption and/or assignment of the existing

Indemnity Agreements (as defined in the Insurance Order), or (iii) obligate the surety to replace

any existing Surety Bond and/or issue any new surety bond on behalf of a Purchaser; or (b) be

deemed to provide a surety’s consent to the involuntary substitution of any principal under any

existing Surety Bond and/or any existing Indemnity Agreement (the “Surety Agreements”),

including, for the avoidance of doubt, that the Purchaser shall not be a substitute principal under

any Surety Agreements absent the surety’s consent thereto or further order of the Court.

Additionally, nothing in this Approval Order, the Bidding Procedures Order, the Stalking Horse

Agreement, or any other document, agreement, or instrument contemplated by any of the foregoing

shall be deemed to alter, limit, modify, release, waive, or prejudice any rights, remedies, and/or

defenses that the Surety has or may have under the Surety Agreements.

        58.     The Credit Bid is a valid, proper, and appropriate credit bid consistent in all respects

with section 363(k) of the Bankruptcy Code and in accordance with the Prepetition Credit

Documents and is hereby approved in all respects pursuant to the Agency Agreement and the

Transactions.




9   Debtors’ Final Order (I) Authorizing the Debtors to (A) Maintain Insurance, Surety Coverage, and Letters of
    Credit Entered into Prepetition and Satisfy Prepetition Obligations Related Thereto, (B) Renew, Amend,
    Supplement, Extend, or Purchase Insurance Policies, Surety Bonds, and Letters of Credit, and (C) Continue to
    Pay Broker Fees, and (II) Granting Related Relief [Docket No. 343] (the “Insurance Order”).



                                                      47
       59.     Upon the Closing, the Credit Bid under the Agency Agreement shall be deemed to

satisfy $105 million in principal amount of Prepetition Term Loan Obligations and the remaining

Prepetition Term Loan Obligations following reduction for the Credit Bid (the “Remaining

Prepetition Term Loan Obligations”) shall remain outstanding as valid claims against the Debtors

secured by the Excluded Assets and the cash proceeds of the Transactions (excluding, for the

avoidance of doubt, Proceeds) to the extent set forth in the Prepetition Credit Documents. Nothing

in this Approval Order, the Agency Agreement, any Transaction Document, or any other document

or order shall impair, modify, affect, or limit the validity of the Remaining Prepetition Term Loan

Obligations upon the Closing of the Transactions and the Remaining Prepetition Term Loan

Obligations shall remain in full force and effect against the Debtors and their estates but not, for

the avoidance of doubt, the Assets or Proceeds (except to the extent of the rights of the Term Agent

or any Term Loan Lenders to receive Proceeds pursuant to any agreement with Agent).

       60.     The Court shall retain jurisdiction with respect to all matters arising out of or

relating to the interpretation, implementation, or enforcement of this Approval Order, the terms

and provisions of the Agency Agreement, and all other Transaction Documents.

       61.     The Purchaser, Term Loan Ad Hoc Group, the Agent, and the Term Agent shall not

support, directly, or indirectly (including through any other party), any motion or pleading that

seeks to convert any of the chapter 11 cases to a chapter 7 or seeks to dismiss the chapter 11 cases.

       62.     For the avoidance of doubt, the Amended Store Closing Procedures shall also apply

to Distribution Centers (as defined in the Agency Agreement).

       63.     Notwithstanding anything to the contrary in the Agency Agreement or this

Approval Orer, the Agent may not abandon any property at a Store or Distribution Center that does

not belong to the Debtors.




                                                 48
       64.     In the event of an inconsistency between this Approval Order and the Transaction

Documents, including without limitation, the Agency Agreement, the terms of this Approval

Order, including the Committee Settlement set forth in paragraph G of the Approval Order, shall

control in all respects. The Committee shall have the right to seek relief on an emergency basis to

address any dispute arising from this paragraph 64.

       65.     Notwithstanding anything to the contrary in this Approval Order, nothing in this

Approval Order shall discharge, cancel, extinguish, alter, impair, modify, or otherwise prevent

Mann Enterprises, Inc. (“Mann”) from, to the extent they exist, asserting any or and all of Mann’s

claims, defenses, arguments, or rights relating to (a) any proposed assumption, assumption and

assignment, or rejection by any of the Debtors of the Shopping Center Lease for Store #2568

(the “Laguna Niguel Lease”) or (b) in the event of an assumption or an assumption and assignment

of the Laguna Niguel Lease, including but not limited to any proposed Cure Amount, adequate

assurance of performance and/or use of the premises subject to the Laguna Niguel Lease, on

account of such assumption or assumption and assignment, all such claims, defenses, arguments,

or rights being expressly preserved and reserved.

       66.     In resolution of the Limited Objection of Jones Lang LaSalle Americas, Inc.

(“JLL”), the Debtors, the Agent and Purchaser stipulate and agree that all fees and expenses due

to JLL under the Master Services Facilities Management Agreement (the “MSA”) between Jo-

Ann Stores, LLC and JLL for post-petition work, including without limitation those fees and

expenses due to Third-Party Vendors retained by JLL pursuant to the MSA, are included in the

definition of Expenses required to be paid in the Agency Agreement by the Agent, Purchaser

and/or the Debtors as so required with the understanding that all rights are reserved with respect

to review and approval of the amounts invoiced by JLL under the MSA.




                                                49
       67.     Neither the Debtors nor the Purchaser are authorized to, and the Debtors and the

Purchaser shall not, sell any inventory or other property owned by SVP Sewing Brands, LLC or

its affiliates (collectively, “SVP” and, such inventory and property, the “SVP Property”). SVP is

authorized to remove the SVP Property from the Stores and is authorized to, and shall within 45

days after the Closing (unless otherwise agreed to by Purchaser and SVP, discontinue operation at

the Stores (notwithstanding anything to the contrary in that certain Master Sublease, dated as of

July 1, 2019, between Jo-Ann Stores, LLC and SVP Sewing Brands LLC, as may be amended,

modified, supplemented, or modified from time to time) subject to the following conditions:

(i) prior to the conclusion of the GOB Sale at the applicable Store, SVP shall only (absent further

order of the Court or consent of the Debtors) be permitted to remove and/or decommission SVP

Property (a) in the ordinary course of business between SVP Sewing Brands, LLC and Jo-Ann

Stores, LLC or (b) if outside the ordinary course of such parties’ business, outside of normal

business hours; provided that the Debtors and the Agent shall provide SVP with reasonable access

to such Store outside of normal business hours; (ii) if such retrieval is conducted outside the

ordinary course of business between SVP Sewing Brands, LLC and Jo-Ann Stores, LLC, SVP

shall provide the Debtors at least five (5) business days’ notice prior to retrieving SVP Property

from the applicable Store and shall coordinate with the applicable JOANN store managers

regarding the same; and (iii) SVP shall otherwise use commercially reasonable efforts to not

disrupt the Debtors’ operations. The Debtors and the Agent shall (i) provide SVP with written

notice of at least fourteen (14) days (or the period of notice provided to the applicable landlord,

whichever is longer) before vacating any Store and (ii) continue to provide SVP with reasonable

access to the Stores until such notice period expires. For the avoidance of doubt, the SVP Property

is not subject to the rights of the Purchaser or any of the Debtors’ creditors (other than SVP).




                                                50
Except as set forth in this paragraph, this Sale Order shall not apply to sales of SVP Property. SVP

Property shall not be considered “Assets,” “Proceeds,” or “GOB Sale Proceeds” for purposes of

this Sale Order or the Agency Agreement. Nothing in this Sale Order shall impair any rights or

remedies of SVP under any lease or contract with the Debtors or applicable law. The automatic

stay provisions of section 362 of the Bankruptcy Code, to the extent applicable, are hereby vacated

and modified solely to the extent necessary to implement the relief set forth in this paragraph. This

paragraph shall govern and control to the extent of any conflict with any other paragraph in this

Sale Order.

       68.     Notwithstanding anything to the contrary in this Approval Order, nothing in this

Approval Order shall modify the provisions of any prior order of this Court regarding the Debtor’s

obligations with respect to the Consignment Agreement (as defined in the Store Closing

Procedures Order) between the Debtors and IG Design Group Americas, Inc. (“DGA”), all of

which shall remain in effect during the GOB Sale unless otherwise agreed between Purchaser and

DGA in writing. Further, nothing in this Sale Order shall impair any rights or remedies of DGA

under any contract with the Debtors or applicable law. For the avoidance of doubt, neither DGA’s

consigned goods nor the amounts due to DGA from the proceeds from the sale of the DGA’s

consigned goods shall be considered “Assets,” “Proceeds,” or “GOB Sale Proceeds” for purposes

of this Approval Order or the Agency Agreement. This paragraph shall govern and control to the

extent of any conflict with any other paragraph in this Approval Order.

       69.     Purchaser agrees to include in the Sale the consigned inventory that is on

consignment with the Debtors from West Broadway Distribution Services, LLC (the “WBDS”) as

of the Sale Commencement Date pursuant to that certain Book Distribution Agreement, dated

February 1, 2009, as same has been amended, extended and renewed from time to time




                                                 51
(the “WBDS Distribution Agreement”) with respect to which WBDS has a filed UCC-1 financing

statement with the Secretary of State for the State of Ohio              (Financing Statement #

OH00277551070 (the “On-Hand WBDS Consigned Goods”).                   WBDS and Purchaser are

negotiating a side letter (the “WBDS Side Letter”) that will govern the allocation of the proceeds

of the On-Hand WBDS Consigned Goods between WBDS and Purchaser, the discount applicable

to On-Hand WBDS Consigned Goods in connection with the GOB Sale, and other terms to be

agreed upon between WBDS and Purchaser; provided, however, in the event that the WBDS Side

Letter is not executed by the parties prior to March 1, 2025, then, absent an agreement between

Purchaser and WBDS, the Purchaser shall no longer include the On-Hand WBDS Consigned

Goods in the Sale, and such On-Hand WBDS Consigned Goods shall be removed from the selling

floor and returned to WBDS and Purchaser shall remit payment to WBDS on account of the Sold

WBDS Consigned Goods, in amounts provided for under Section 2 of the WBDS Distribution

Agreement. Nothing contained herein shall be deemed to amend, modify, or limit the Debtors’

obligations to remit payment to WBDS for amounts due under the WBDS Distribution Agreement

other than with respect to the Sold WBDS Consigned Goods. During the Sale Term, Purchaser

and the Debtors, as and where applicable, shall be bound by the Debtors’ obligations under all

interim and final orders entered by this Court, as applicable, approving the Debtors’ cash

management motion, including, but not limited to (i) the full and timely daily reporting of Debtors’

Point-of-Sale activity and gross revenue with respect to the sale of Sold WBDS Consigned Goods

on the immediately preceding day, in the same manner and to the same extent that Debtors

provided WBDS with the information prior to the Petition Date, and (ii) maintaining the

identifiable proceeds from the sale of the Sold WBDS Consigned Goods so as to be readily

identifiable as the proceeds of the sale of goods under the WBDS Distribution Agreement, and (iii)




                                                52
remittance of all identifiable proceeds of Sold WBDS Consigned Goods, including, but not limited

to, all identifiable proceeds from pre-Closing sales of consigned goods (consistent with the

Debtors’ prior practice from and after the Petition Date pursuant to previously entered interim and

final orders of this Court), to WBDS on a weekly basis on each Friday. For the avoidance of doubt,

neither the WBDS Consigned Goods nor the amounts due to WBDS from the proceeds from the

sale of the Sold WBDS Consigned Goods shall be considered “Assets,” “Proceeds,” or “GOB Sale

Proceeds” for purposes of this Approval Order or the Agency Agreement. Except as noted above

with respect to the remittance of payment to WBDS on account of the Sold WBDS Consigned

Goods, nothing in this Approval Order shall impair any rights or remedies of WBDS under any

contract with the Debtors or applicable law. The automatic stay provisions of section 362 of the

Bankruptcy Code, to the extent applicable, are hereby vacated and modified solely to the extent

necessary to implement the relief set forth in this paragraph. This paragraph shall govern and

control to the extent of any conflict with any other paragraph in this Approval Order. In the event

of any conflict between this Sale Order and the WBDS Side Letter, the terms of the WBDS Side

Letter shall control; provided that this Court retains exclusive jurisdiction with respect to all

matters arising from or related to the implementation, interpretation, and enforcement of the

WBDS Side Letter.




      Dated: February 26th, 2025            CRAIG T. GOLDBLATT
      Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE




                                                53
